Case 2:04-cr-20442-.]DB Document 47 Filed 06/23/05 Page 1 of 6 P_age|D 48

UN|TED STATES DISTR|CT COURT
WESTERN DlSTRlCT OF TENNESSEE ’Flt.E-.'l_) J`r'
MEMPH|S DlVlSlON

 
  

.____, u`J.C.

05 JUN 23 Pf‘l 212,
UN|TED STATES OF AMEFI|CA
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_ _ . _ _ cl_r:r-l‘.<, us. rs;::;'r. cr.
" 2'°4CR2°442 01 5 w.o. oi= TN, segments

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ROGER LlNWOOD
Apri| Ft. Goot:lel FPD
Defense Attorney
200 Jefferson Avenue, Suite 200
Memphis, TN 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 & 2 of the lndictment on N|arch 07, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following offenses:

Date Count
'ritle & section M.Mf_sn§ Offense N\MQL(§)
Conctuded
18 U.S.C. § 371 Conspiracy to Defraud the United 05/12/2004 1
States
18 U.S.C. § 2314 Aiding & Abetting in the unlawful 05/12/2004 2
and § 2 Transportation of Sto|en Goods

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fteform Act of 1984 and the |V|andatory
Victims Restitution Act of 1996

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 4/20/1957 June 23, 2005
Deft’s U.S. N|arshai No.: 20004-076

Defendant’s Mai|ing Address:
894 Orphanage
Memphis, TN 38107

 

J. DANIEL BREEN
|TED STATES D|STR|CT JUDGE
This dochsnt entered on the docket sheet in co p\ianc June 2 3 _, 2005
with Hnie 55 and/or 3203) FFlCrP on ,__L£_.¢zl-&j' "

L/?

Case 2:04-cr-20442-.]DB Document 47 Filed 06/23/05 Page 2 of 6 Page|D 49

Case No: 2:04CFi20442-01-B Defendant Name: Fioger LlNWOOD Page 2 of 5

PROBAT|ON

The defendant is hereby placed on probation for a term of 2 Years.

While on probation, the defendant shall not commit another federai, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons. The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). if this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1 . The defendant shall not leave thejudiciai district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
Schoo|ing, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinaiysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

B. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

Case 2:04-cr-20442-.]DB Document 47 Filed 06/23/05 Page 3 of 6 Page|D 50

Case No: 2:04CFt20442-01-B Defendant Name: Fioger LlNWOOD F;age 3 015

10.

11.

12.

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Crimina| Monetary Penalties sheet of this judgment.

ADDiT|ONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1. Make full financial disclosure

2. Do not incur any new financial obligations without the permission of the probation
officer.

3. Provide third party risk notification,

4. Pariicipate in substance abuse counseling and treatment as deemed appropriate by
the probation officer.

5. Cooperate in the collection of DNA as directed by the probation officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance

with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall

pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is

paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|| of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Tota| Fine Tota| Rest|tution

$200.00 $9,364.77

The Speciai Assessment shall be due immediateiy.
FlNE

No fine imposed.

Case 2:04-cr-20442-.]DB Document 47 Filed 06/23/05 Page 4 of 6 Page|D 51

Case No: 2:040Fi20442-01-B Defendant Name: Ftoger LlNWOOD Page 4 of 5

REST|TUT|ON

Ftestitution in the amount of $9,364.77 is hereby ordered. The defendant shall make
restitution to the following victims in the amounts listed below.

Priority
Tota| Amount of Order
Name of Pa!ee Amount Restitu'|:ion Ol'del’ed or
of Loss Percentage
of Payment
HYMAN BU|LDERS $9,364.77 $9,364.77
SUPPLY iNC.

|f the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified othen~ise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless1
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Fteasons page.

Case 2:04-cr-20442-.]DB Document 47 Filed 06/23/05 Page 5 of 6 Page|D 52

Case No: 2:04CR20442-01-B Defendant Name: Fioger LlNWOOD Page 5 of 5

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as foiiows:

E. Specia| instructions regarding the payment of criminal monetary penalties:
- To be paid in regular monthly installments in the amount of 10% of gross income.
- interest requirement is waived.

- Defendant to notify U.S. Attorney and Court of any material change in economic
circumstances that may affect defendant’s ability to pay restitution.

Un|ess the court has expressly ordered othenNise in the special instructions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment Aii criminal monetary penalties, except those payments made through the
Federa| Bureau of Prisons' inmate Financia| Fiesponsibi|ity Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer, or the United States attorney.

The defendant shall receive credit for ali payments previously made toward any criminal monetary
penalties imposed.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 47 in
case 2:04-CR-20442 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

 

April Rose Goode

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Honorable J. Breen
US DISTRICT COURT

